     Case 3:04-cv-00251-HSO-ASH           Document 934        Filed 08/10/22     Page 1 of 3




                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                              NORTHERN DIVISION

OLIVIA Y., et al                               )
                                               )
Plaintiffs                                     )
                                               )
v.                                             ) CIVIL ACTION NO. 3:04-cv-251-HSO-FKB
                                               )
TATE REEVES, as Governor of                    )
the State of Mississippi, et al.               )
                                               )
Defendants                                     )



                  DEFENDANTS’ RESPONSE AND OBJECTION TO
                           PLAINTIFFS’ MOTION FOR
             PAYMENT OF PLAINTIFFS’ ATTORNEYS’ FEES AND EXPENSES

       Defendants respond and object to Plaintiffs’ Motion for Payment of Plaintiffs’ Attorneys’

Fees and Expenses (“Plaintiffs’ Motion”) as follows: 1

       1.      Plaintiffs’ Motion was filed on July 27, 2022, along with their Memorandum o f

Law, seeking approval of the parties’ agreement regarding Plaintiffs’ attorneys’ fees in the

amount of $29,500.68 for the period of July 1, 2021, through December 31, 2021. Plaintif fs’

Motion further requests payment within thirty days of a Court order.

       2.      Plaintiffs’ request that the Court order payment of the agreed upon attorneys’ fees

within thirty days is unnecessary because Plaintiffs have already received payment of the agreed

upon amount. See Declaration of Clint Pentecost, attached as Exhibit A. In fact, Plaintiffs

received confirmation that payment of the agreed upon fees had been sent prior to the f ilin g o f

Plaintiffs’ Motion. See Pentecost Declaration.



1Due to the nature of this pleading, Defendants request relief from the requirement of filing a
memorandum brief in support of Defendants’ response.
    Case 3:04-cv-00251-HSO-ASH               Document 934         Filed 08/10/22       Page 2 of 3




        3.      Throughout the long history of this case, Defendants have objected to Plaintif f s’

requests that payment of Plaintiffs’ attorneys’ fees should always be remitted within thirty (30 )

days from entry of an order. However, Defendants have never shown an unwillingness or

reluctance to pay the agreed upon amount of fees. Instead, throughout the entire history of this

litigation, Defendants have acted in a cooperative fashion in the payment of the Plaintiffs’

attorneys’ fees.2

        4.      Defendants’ and the Attorney General’s position on paying Plaintiffs’ attorney

fees through legislative appropriation is in accordance with Mississippi law, which states th at a

“judgment or decree against the State shall not be satisfied except by an appropriation therefor

by the legislature, and an execution shall not be issued against the State.” See Miss. Code Ann. §

11-45-5. Defendants briefed this issue most recently in their Memorandum filed as ECF No. 929

and incorporate that same argument here.

        WHEREFORE, Defendants request that the Court deny Plaintiffs’ Motion insofar as it

seeks payment of the agreed upon fees within thirty (30) days and seeks payment outside of the

legislative appropriation process.

        RESPECTFULLY SUBMITTED, this the 10 th day of August, 2022.

                                                TATE REEVES, as Governor of the State of
                                                Mississippi, ANDREA SANDERS, as
                                                Commissioner, Mississippi Department of Child
                                                Protection Services, and KIMBERLY WHEATON,
                                                as Deputy Commissioner of Child Welfare,
                                                Mississippi Department of Child Protection
                                                Services


                                                By: /s/ Clint Pentecost


2 As demonstrated in previously filed documents (e.g., ECF Nos. 873 and 909), Plaintiffs’ attorneys’ fees

have consistently been paid through deficit appropriations requested by, and made available to, the
Attorney General’s office.


                                                   2
   Case 3:04-cv-00251-HSO-ASH        Document 934    Filed 08/10/22   Page 3 of 3




OF COUNSEL:

Baker, Donelson, Bearman, Caldwell & Berkowitz, PC
William C. “Clint” Pentecost (MSB #99841)
One Eastover Center
100 Vision Drive, Suite 400
Jackson, MS 39211
Telephone: (601) 351-2400
Facsimile: (601) 351-2424




                                           3
